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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                Newport News Division

       UNITED STATES OF AMERICA                     )
                                                    )
               v.                                   )       Criminal No. 2:17mj562
                                                    )
       ERIC BRIAN BROWN                             )


  DEFENDANT’S EMERGENCY MOTION TO ENJOIN FORCIBLE MEDICATION

       The defendant, Eric Brian Brown, through counsel, hereby seeks to immediately enjoin the

Attorney General, acting through the Bureau of Prisons (BOP), from conducting non-judicial

proceedings outside the presence of Mr. Brown’s attorneys for purposes of involuntarily

administering unspecified psychiatric medications. The involuntary administration of psychiatric

medications should be enjoined pending a hearing and judicial determination of the

appropriateness of forcible medication in this case. This motion is based on the Due Process

Clause of the United States Constitution, 28 C.F.R. § 549.43, any and all applicable provisions of

the federal constitution and statutes, and any further evidence as may be adduced at a hearing on

this motion.

       Because BOP notified counsel at 1:08PM today of the hearing planned for 2:00PM

tomorrow, and because proceeding with the hearing and/or with forced medication will cause

irreparable harm to Mr. Brown, the defense seeks emergency relief in the form of a preliminary

injunction.

       I.      Introduction

       The Attorney General, acting through the Bureau of Prisons, and without first seeking the

approval of this Court, has decided to conduct an internal proceeding to determine whether the




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Department of Justice—in its own discretion—may involuntarily and forcibly medicate Eric Brian

Brown on the grounds that he is a danger to himself or others. At 1:08PM on May 31, 2018, Janet

Oakley, a registered nurse from FMC Butner where Mr. Brown is currently housed as a pretrial

detainee, called Mr. Brown’s attorneys to provide notice that this internal administrative

proceeding will be held on June 1, 2018, at 2:00PM. Ms. Oakley denied counsel’s specific request

to attend the proceeding either in person or by phone.

       Ms. Oakley said that she would be serving as Mr. Brown’s “staff representative” at the

hearing. When asked, she indicated that she did not know what medications were being proposed

for forcible medication. She also noted that when she attempted to explain the planned proceedings

to Mr. Brown earlier on May 31, Mr. Brown did not look at her, respond to her, or otherwise

demonstrate an understanding of what she was saying. This Court has already found Mr. Brown

to be incompetent to stand trial. Sealed Order, at 2 (Jan. 25, 2018).

       In United States v. Loughner, No. 11-10339, 2011 WL 2694294, at *1 (9th Cir. July 12,

2011), the Bureau of Prisons conducted a similar administrative hearing, the defendant sought a

preliminary injunction, and the district court denied it. The Ninth Circuit held that the district

court abused its discretion by denying the defendant’s emergency motion for a preliminary

injunction. The court wrote:

               There is a serious question whether the decision to involuntarily
               medicate a pre-trial detainee with psychotropic drugs may be made
               by prison authorities pursuant to Washington v. Harper, 494 U.S.
               210, 227 (1990), or by the district court applying the Harper
               substantive standard, see United States v. Hernandez–Vasquez, 513
               F.3d 908, 914, 919 (9th Cir. 2008). That question will be addressed
               by a merits panel after briefing. The only question before us is
               whether the district court abused its discretion by denying
               Loughner’s emergency motion for a preliminary injunction
               enjoining the Federal Medical Center in Springfield, Missouri, from
               involuntarily medicating him after conducting a Harper



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                administrative hearing and determining that he represents a danger
                to others. See Alliance for the Wild Rockies v. Cottrell, 632 F.3d
                1127, 1131 (9th Cir. 2011). We conclude that it did.

In a split decision after full briefing, the Ninth Circuit eventually decided the merits question

against Mr. Loughner. See United States v. Loughner, 672 F.3d 731, 735 (9th Cir. 2012). But

those legal questions remain unsettled in the Fourth Circuit; the majority and dissenting opinions

in Loughner represent persuasive authority from which jurists of this Circuit may draw insight, but

neither is binding. As in Loughner, a preliminary injunction is appropriate here to preserve the

status quo and prevent Mr. Brown from suffering irreparable harm in the form of involuntary,

forced medication administered at the sole discretion of the same Executive Branch agency that is

simultaneously prosecuting him.

        II.     Legal Standards

        “A plaintiff seeking a preliminary injunction must establish that he is likely to succeed on

the merits, that he is likely to suffer irreparable harm in the absence of preliminary relief, that the

balance of equities tips in his favor, and that an injunction is in the public interest.” Winter v. Nat.

Res. Def. Council, Inc., 555 U.S. 7, 20 (2008).

        III.    Argument

        A preliminary injunction is appropriate in this case. Mr. Brown is likely to succeed on the

merits. It cannot be constitutional for members of the same Executive Branch agency charged

with carrying out Mr. Brown’s prosecution to decide—in the context of an uncounseled

administrative proceeding—whether this incompetent pretrial detainee can be forcibly medicated

against his will. Mr. Brown is also likely to suffer irreparable harm in the absence of preliminary

relief for the reasons explained by Justice Kennedy in Riggins. For the same reasons, the balance

of equities tips in his favor, and an injunction is in the public interest.



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               a. The prospect of an incompetent, death-eligible pretrial detainee being
                  involuntarily and forcibly medicated under the sole authority of an
                  administrative proceeding conducted exclusively by members of the same
                  Executive Branch agency that is prosecuting him, all while being denied even
                  the presence of counsel, raises grave constitutional concerns creating a
                  likelihood of success on the merits that warrants a preliminary injunction.

       Mr. Brown enjoys a due process right to bodily integrity free of unwanted, forcible

administration of psychiatric medication. Washington v. Harper, 494 U.S. 210, 221 (1990). That

right has both a substantive and procedural component. Id. at 220. Both stand to be violated here

if Mr. Brown is forcibly medicated following the proposed non-judicial hearing. Mr. Brown is

incompetent to represent himself and has been denied representation of counsel at this hearing.

His proposed staff representative is a nurse employed by the Department of Justice who did not

even know the proposed medication to be administered less than 25 hours before the hearing.

Moreover, Mr. Brown’s “representative,” the hearing officer who will preside over the hearing

(Dr. Graddy), and the warden who will ultimately decide any administrative appeal are all agents

of the same Executive Branch agency—the U.S. Department of Justice—that is prosecuting Mr.

Brown in this potentially capital case.

       Forcible medication on dangerousness grounds is governed by the standard set forth in

Harper and Riggins v. Nevada, 504 U.S. 127, 135 (1992). The substantive question is “what

factual circumstances must exist before the [government] may administer antipsychotic drugs to

the prisoner against his will.” Harper, 494 U.S. at 220. In the dangerousness context, the Supreme

Court has held that the requisite “factual circumstances” are twofold: “[1] a finding of overriding

justification and [2] a determination of medical appropriateness.” Riggins, 504 U.S. at 135. Forced

pyschotropic medication is not medically appropriate unless “considering less intrusive

alternatives, [the medication regime] is essential for the sake of [the inmate’s] own safety or the




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safety of others.” Id. (emphasis added). Based on the limited information the BOP has shared

with defense counsel about the sole incident that precipitated this hearing, none of these

circumstances have been satisfied here.

       Moreover, “[b]ecause [Mr. Brown] has not been convicted of a crime, he is presumptively

innocent and is therefore entitled to greater constitutional protections than a convicted inmate, as

in Harper.” United States v. Loughner, No. 11-10339, 2011 WL 2694294, at *1 (9th Cir. July 12,

2011). Unlike a convicted person serving a lengthy prison term, additional concerns about the

administration of psychotropic medication are raised in the pretrial context because potential side

effects of the medication have “an impact upon not just [the detainee’s] outward appearance, but

also the content of his testimony on direct or cross examination, his ability to follow the

proceedings, or the substance of his communication with counsel.” Riggins, 504 U.S. at 137; see

id. at 139 (Kennedy, J., concurring) (comparing forced medication to the manipulation of material

evidence). Thus, under these circumstances, the need for Mr. Brown to be represented by counsel

at any hearing involving issues related to his mental health condition and treatment—issues which

will both affect and likely be raised separately in subsequent proceedings in the criminal case—is

particularly compelling.

       Regardless of any administrative findings by DOJ officials, or their validity, the DOJ may

not forcibly medicate a pretrial inmate, committed for restoration of competency, without the Court

making its own findings after an adversarial hearing and with the assistance of counsel. In Sell,

the Supreme Court suggested that there may be instances in which Harper grounds warrant

forcible medication pretrial. 539 U.S. at 181-82. And these Harper grounds very well may present

a more objective and manageable inquiry, but such “strong reasons” for addressing these

alternative grounds are still only “for a court to determine” in the pretrial context, specifically to



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determine “whether forced administration of drugs can be justified on these alternative grounds

before turning to the trial competence question.” Id. at 182 (emphasis added).

       Absent a judicial determination following an adversary hearing at which a pretrial detainee

is represented by counsel, Harper does not authorize the forcible medication of such an individual

who has been committed for restoration of competency. Harper considered and approved a

decision by medical professionals to medicate an imprisoned, convicted felon in order to mitigate

his dangerousness in the prison setting. Applying the traditional balancing test of Mathews v.

Eldridge, 424 U.S. 319 (1976), the Harper Court found further procedural protections unnecessary

for a post-trial convicted felon. 494 U.S. at 229-36.

       Two critical circumstances differentiate this case from Harper. First, the medical

professionals in Harper were unconflicted. They had no interests other than safely confining the

convicted prisoner. Here, FMC Butner has been tasked by the court with restoring Mr. Brown to

competency—or at least placing him in “treatment … for his Schizophrenia… with the purpose of

continuing to evaluate his mental competency.” Sealed Order (Jan. 25, 2018). Moreover, officials

at FMC Butner have already informally indicated to Mr. Brown’s counsel that they will be

recommending in a forthcoming report that Mr. Brown be forcibly medicated for the express

purpose of restoring him to competency. That is, these same DOJ employees are soon expected

to seek this same forced-medication solution to a different problem: advancing the government’s

weighty interest in obtaining a verdict on the charge against Mr. Brown. Cf. Sell, 539 U.S. at 180.

The effect of these conflicting duties and potentially overlapping motives is one reason why

additional procedural protections are warranted.

       The structural conflict presented in this case is also striking and disturbing. The same

Executive Branch agency that is prosecuting Mr. Brown in this criminal proceeding will be vested



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with every role in this purportedly-adversarial Harper hearing. A DOJ employee will “represent”

Mr. Brown, a DOJ employee will present evidence to the hearing officer, a DOJ employee will act

as hearing officer, and—upon the filing of any administrative appeal—a DOJ employee will

resolve the appeal. This not only presents obvious conflict of interest concerns, but serious

questions about constitutional separation of powers. See generally N. Pipeline Const. Co. v.

Marathon Pipe Line Co., 458 U.S. 50, 70 (1982). The same government entity seeking to

ultimately deprive Mr. Brown of his liberty in this criminal case cannot be charged with

safeguarding his liberty in the associated Harper hearing.

       Second, because the decision to be made in Harper was solely medical in nature, the

Harper Court believed a decision by a judge following an adversarial hearing would not reduce

the risk of error. Here, the decision is not solely medical. As recognized by the Supreme Court in

Riggins and Sell, a decision to forcibly medicate a pretrial detainee has grave implications for that

individual’s right to a fair trial. Those rights are legal in nature. And balancing the risk to those

rights against the utility of medication is a legal endeavor appropriately undertaken by the

judiciary, not doctors.

       Moreover, several unique circumstances require that Mr. Brown’s lawyers be allowed to

participate in any Harper proceeding. These circumstances include but are not limited to the

following: 1) Mr. Brown is a pretrial detainee who could face charges that would make him eligible

for the death penalty, 2) Mr. Brown’s mental health status is likely to be an issue in his criminal

trial and at any sentencing or penalty phase, 3) Mr. Brown has already been found unable to

competently assist counsel in his criminal case, casting serious doubt upon his ability to adequately

represent his own interests or assist non-lawyer representatives at an administrative hearing, and

4) Mr. Brown’s lawyers possess information relevant to the need to forcibly medicate on the basis



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of protecting his safety or the safety of others, which information Mr. Brown likely does not

possess or have access to in his current condition.

        Finally, the planned administrative proceeding cannot satisfy Riggins’ medical

appropriateness requirement—and Mr. Brown’s proposed staff representative cannot be

sufficiently prepared to represent his interests—for an independent reason. Less than 25 hours

before the hearing was supposed to commence, Mr. Brown’s staff representative did not even

know the name of the medication proposed for forcible administration. How can Mr. Brown’s

representative determine the likely side-effects or efficacy of medication if the medication is not

even identified? Presumably, specific information about proposed dosing would be relevant as

well.

        Indeed, Harper and Riggins make clear that medical appropriateness must be determined

by reference to the actual drug and dosage prescribed. In Harper, the Supreme Court upheld a due

process challenge to a state prison’s involuntary medication policy. In doing so, the Court

expressly relied on the fact that the state policy required the proposed medication to “first be

prescribed by a psychiatrist,” reviewed by a second psychiatrist, and specifically refused by the

inmate before the administrative process could even be invoked. Harper, 494 U.S. at 222 & n.8

(emphasis added). This point was central to the Supreme Court’s approval of the “medical

appropriateness” prong; it was the subject of extended debate between the majority and dissent in

Harper. See id. (addressing the dissent’s concern that treatment would be permitted without a

medical appropriateness determination by reference to the state policy’s initial-prescription

provision).

        Riggins, decided two terms later, reinforced Harper’s emphasis on the specific drug

prescribed. Interpreting Harper’s medical appropriateness holding, Riggins made clear that



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satisfaction of that prong was dependent on the appropriateness of the actual drug prescribed;

indeed, the Riggins opinion even identified the specific drug by name. The Supreme Court

explained that once the prescribed medication was refused, “the State became obligated to

establish the need for Mellaril and the medical appropriateness of the drug.” Riggins, 504 U.S. at

135 (emphasis added).

       Identification of the proposed drug of administration is inherent in the Harper/Riggins

requirement that the administrative decision-maker “consider[] less intrusive alternatives” to

determine whether the proposed medication is “essential” to ensure safety. Riggins, 504 U.S. at

135. Obviously, the identity of the proposed medication must be known before “alternatives” can

even be identified. Indeed, as the Supreme Court has recognized, “[d]ifferent kinds of

antipsychotic drugs may produce different side effects and enjoy different levels of success.” Sell,

539 U.S. at 181. And it is unclear how anyone who does not even know the name of the drug

proposed for forcible medication could conceivably advance Mr. Brown’s interests.

       In sum, procedural and substantive due process problems abound. At a hearing, Mr. Brown

will be able to demonstrate a likelihood of success on the merits.

               b. Mr. Brown is likely to suffer irreparable harm in the absence of preliminary
                  relief, the balance of equities tips in his favor, and an injunction is in the public
                  interest.

       People subjected to the sort of antipsychotic drugs at issue here “immediately face a risk

of serious and potentially irreversible side effects.” United States v. Ruiz-Gaxiola, 623 F.3d 684,

690 (9th Cir. 2010). The side effects of these drugs can even be fatal, as the Supreme Court has

recognized. Harper, 494 U.S. at 229. Psychotropic drugs “alter the chemical balance in a patient’s

brain,” and “can have serious, even fatal, side effects” including “acute dystonia, a severe

involuntary spasm of the upper body, tongue, throat, or eyes,” “akathsia (motor restlessness, often



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characterized by an inability to sit still); neuroleptic malignant syndrome (a relatively rare

condition which can lead to death from cardiac dysfunction); and tardive dyskinesia, …. a

neurological disorder … that is characterized by involuntary, uncontrollable movements of various

muscles, especially around the face.” Harper, 494 U.S. at 230. Tardive dyskinesia is “irreversible

in some cases.” Id. As the Ninth Circuit held in a nearly identical circumstances, “Being forced

to take medication carrying the risk of irreversible, possibly fatal side effects, no doubt amounts

to irreparable harm.” United States v. Loughner, No. 11-10339, 2011 WL 2694294, at *1 (9th Cir.

July 12, 2011).

       Similarly, Mr. Brown has “a strong personal interest in not being forced to suffer the

indignity and risk of bodily injury that results from the administration of powerful drugs.” Id. at

*2. The government’s interest in protecting both Mr. Brown and those around him is also serious.

But, as the Ninth Circuit held, the government’s interest in this context is “less immediate.” Id.

As in Loughner, the government has managed to keep Mr. Brown in custody for over six months

without injury to anyone. Id. Moreover, Mr. Brown is in a lockdown unit. He is kept in the same

cell 24 hours per day (with the exception of one hour of available recreational time, which the

defense understands Mr. Brown never uses). The defense does not doubt the BOP’s good-faith

concern for Mr. Brown’s safety and the safety of others, but surely other safety precautions can be

implemented on an interim basis until the merits of this issue are decided. Finally, it is noteworthy

that the Harper hearing appears to be predicated on a single alleged incident in which Mr. Brown

swung chain restraints at a guard. It is unclear why this single incident, in light of Mr. Brown’s

previous six months in custody without any alleged attempt to hurt another person, presents an

immediate need for forced medication that cannot wait to ensure compliance with constitutional

standards.



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       Finally, as the Ninth Circuit held in Loughner, “there is a strong public interest in

preserving the safety and bodily integrity of individuals who are detained prior to trial and thus

innocent in the eyes of the law.”

       IV.     Conclusion

       At a hearing, the defense will be able to show that Mr. Brown is rightfully entitled to a

preliminary injunction enjoining the government from conducting an administrative Harper

hearing outside the presence of Mr. Brown’s attorneys and enjoining the government from forcibly

and involuntarily administering antipsychotic medications to Mr. Brown without due process.



                                             Respectfully submitted,

                                                    ERIC BRIAN BROWN

                                               By:_________/s/_______________

                                                    Keith Loren Kimball
                                                    VSB # 31046
                                                    Attorney for Eric Brian Brown
                                                    Office of the Federal Public Defender
                                                    150 Boush Street, Suite 403
                                                    Norfolk, Virginia 23510
                                                    (757) 457-0800
                                                    (757) 457-0880 (telefax)
                                                    keith_kimball@fd.org

                                                    Andrew W. Grindrod
                                                    VSB # 83943
                                                    Attorney for Eric Brian Brown
                                                    Office of the Federal Public Defender
                                                    150 Boush Street, Suite 403
                                                    Norfolk, Virginia 23510
                                                    (757) 457-0800
                                                    (757) 457-0880 (telefax)
                                                    andrew_grindrod@fd.org




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                               CERTIFICATE OF SERVICE

        I certify that on the 31st day of May, 2018, I will electronically file the foregoing with the
Clerk of Court using the CM/ECF system, which will send a notification of such filing (NEF) to
the following:

       Randy C. Stoker
       Kevin M. Comstock
       Assistant United States Attorneys
       Attorney for the United States
       United States Attorney’s Office
       101 West Main Street, Suite 8000
       Norfolk, VA 23510
       Office Number: 757-441-6331
       Facsimile Number: 757-441-6689

       A copy of the foregoing will also be served electronically to the following non-ECF user:

Logan Graddy, MD, DFAPA (identified as hearing officer for planned Harper hearing)
Chief Psychiatrist
U.S. Department of Justice
Federal Bureau of Prisons
Federal Medical Center
P.O. Box 1600, Old Highway 75
Butner, North Carolina 27509-1600
Phone: 919-575-3900 x5361
Fax: 919-575-4866
E-Mail: lgraddy@bop.gov

                                               By:_______________/s/___________________


                                                      Andrew W. Grindrod
                                                      VSB # 83943
                                                      Attorney for Eric Brian Brown
                                                      Office of the Federal Public Defender
                                                      150 Boush Street, Suite 403
                                                      Norfolk, Virginia 23510
                                                      (757) 457-0800
                                                      (757) 457-0880 (telefax)
                                                      andrew_grindrod@fd.org




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